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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        GAINESVILLE DIVISION

NANCY CAROLA JACOBSON,
TERENCE FLEMING, SUSAN
BOTTCHER, PRIORITIES USA, DNC
SERVICES CORPORATION /                        Case No.
DEMOCRATIC NATIONAL
COMMITTEE, DSCC a/k/a
DEMOCRATIC SENATORIAL
CAMPAIGN COMMITTEE, DCCC a/k/a
DEMOCRATIC CONGRESSIONAL
CAMPAIGN COMMITTEE,
DEMOCRATIC GOVERNORS
ASSOCIATION, and DEMOCRATIC
LEGISLATIVE CAMPAIGN
COMMITTEE,
     Plaintiffs,
v.
KENNETH DETZNER, in his official
capacity as the Florida Secretary of State,
     Defendant.


      COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       Plaintiffs, NANCY CAROLA JACOBSON, TERENCE FLEMING,

SUSAN BOTTCHER, PRIORITIES USA, DNC SERVICES CORPORATION /

DEMOCRATIC         NATIONAL COMMITTEE (the “DNC”), DSCC                   a/k/a

DEMOCRATIC SENATORIAL CAMPAIGN COMMITTEE (the “DSCC”),

DCCC a/k/a DEMOCRATIC CONGRESSIONAL CAMPAIGN COMMITTEE

(the “DCCC”), DEMOCRATIC GOVERNORS ASSOCIATION (the “DGA”),

and the DEMOCRATIC LEGISLATIVE CAMPAIGN COMMITTEE (the

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“DLCC”), file this Complaint for Declaratory and Injunctive Relief against

Defendant KENNETH (“KEN”) DETZNER, in his official capacity as the Florida

Secretary of State, and allege the following grounds for their entitlement to relief:

                             NATURE OF THE CASE

      1.     It has been well-established, and there is ample evidence, that the

candidate listed first on a ballot attracts additional votes solely due to his or her

position on the ballot. See, e.g., McLain v. Meier, 637 F.2d 1159, 1166 (8th Cir.

1980) (affirming “district court’s finding of ballot advantage in the first position”);

Akins v. Sec’y of State, 154 N.H. 67, 71 (N.H. 2006) (affirming trial court finding

that “the primacy effect confers an advantage in elections”); Gould v. Grubb, 14

Cal. 3d 661, 664 (1975) (describing trial court’s finding of position bias as

“consistent with parallel findings rendered in similar litigation throughout the

country”); Holtzman v. Power, 62 Misc. 2d 1020, 1023 (N.Y. Sup. Ct. 1970)

(noting the belief “that there is a distinct advantage to the candidate whose name

appears first on a ballot . . . appears to be so widespread and so universally

accepted as to make it almost a matter of public knowledge”). This phenomenon is

known as “position bias.”1

      2.     Florida law mandates that candidates of the political party of the

Governor be listed first on the ballot. FLA. STAT. § 101.151(3)(a) (2017) (the

1
  “Position bias” is also referred to as the “primacy effect,” “windfall vote,” or
“donkey vote.”

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“Ballot Order Statute”) (“The names of the candidates of the party that received the

highest number of votes for Governor in the last election in which a Governor was

elected shall be placed first for each office on the general election ballot, together

with an appropriate abbreviation of the party name[.]”). As a result, candidates of

the Governor’s political party receive the benefits of position bias, creating an

unfair and artificial electoral advantage. Currently, Republican Party candidates

routinely and without exception receive the advantage of position bias in Florida’s

partisan elections, because the Governor, Rick Scott, is a Republican. Because a

Republican has held the position of Florida Governor for twenty years, this

advantage has continued, unabated, for two decades.

      3.     The first-listed candidates in partisan general elections in Florida

receive the following average percentage point electoral “bump” due to position

bias: (1) Republican candidates gain a 2.70 percentage point advantage by being

listed first on the ballot; and (2) Democratic candidates gain a 1.96 percentage

point advantage by being listed first. These numbers are both statistically and

electorally significant: Florida’s recent history is littered with examples of

elections that were decided by smaller margins. But the numbers also

underestimate the effect of the bias. In any given election, the total overall

percentage point gap that may be attributable to position bias includes not just the

percentage points gained by the candidate whose name appears first on the ballot


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solely due to his or her position on the ballot, but also the points lost by the

candidates who do not appear first, for no reason other than the fact of their

position on the ballot. The overall percentage point gap attributable to position bias

between the first and second listed candidates in Florida’s two-party, two-

candidate elections is estimated to be as high as 5.40 percentage points when

Republican Party candidates are listed first, and 3.92 percentage points when

Democratic candidates are listed first.

      4.     Thus, as a direct result of Florida’s Ballot Order Statute, Plaintiffs,

Democratic Party committees, Democratic candidates, Democratic organizations,

and voters who support Democratic candidates, have been—and, absent Court

action declaring and enjoining the Statute as unlawful, will continue to be—

irreparably and seriously injured by the invisible thumb that the Statute puts on the

scale in favor of Republican candidates in all of Florida’s partisan elections.

      5.     At its most basic, the Ballot Order Statute injures the Democratic

Party and its candidates, as well as the voters and organizations that support them,

by treating them differently from the Republican Party and its candidates, solely

because the Republican candidate for Governor won the last gubernatorial

election—an election entirely unrelated to all of the other elections in which

Republican candidates are accordingly and arbitrarily awarded a several point

advantage as the result of position bias. The Ballot Order Statute also dilutes the


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vote of Floridians, such as Plaintiffs Jacobson, Fleming, Bottcher (collectively, the

“Voter Plaintiffs”), and the voting members and voting constituents of the

Democratic Party committee Plaintiffs and Democratic organization Plaintiffs, all

of whom consistently support Democratic candidates in Florida elections, by

giving an artificial and unfair advantage to candidates of the Governor’s political

party. The resulting disparate treatment and burden on Plaintiffs’ right to vote are

not justified by any legitimate, much less compelling, state interest.

      6.     In the only case in which the Supreme Court has considered a

challenge to a state practice that would have given certain types of candidates

(there, incumbents) the advantage of being placed first on the ballot and the

benefits of position bias, the Court summarily affirmed the lower court’s

preliminary injunction, requiring candidates to have an equal opportunity to be

placed first on the ballot. See Mann v. Powell, 333 F. Supp. 1261 (N.D. Ill. 1969),

aff’d 398 U.S. 955 (1970); see also Gould, 14 Cal. 3d at 677 (“[A] fundamental

goal of a democratic society is to attain the free and pure expression of the voters’

choice of candidates . . . [,] untainted by extraneous artificial advantages imposed

by weighted procedures of the electoral process.”). The application of Florida’s

Ballot Order Statute in the upcoming November 2018 election is even less

justifiable than the incumbency preference enjoined in Mann, because the Florida

Statute determines the order of names on a ballot based on a single, unrelated


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election that occurred four years ago, which involved different candidates for a

different elected position.

                          JURISDICTION AND VENUE

         7.    Plaintiffs bring this action under 42 U.S.C. §§ 1983 and 1988 to

redress the deprivation under color of state law of rights secured by the United

States Constitution.

         8.    This Court has original jurisdiction over the subject matter of this

action pursuant to 28 U.S.C. §§ 1331 and 1343, because the matters in controversy

arise under the Constitution and laws of the United States.

         9.    This Court has personal jurisdiction over the Defendant, the Secretary

of State, who is sued in his official capacity only.

         10.   Venue is proper in the Gainesville Division of the U.S. District Court

in the Northern District of Florida pursuant to 28 U.S.C. § 1391(b)(2) because,

inter alia, a substantial part of the events that gave rise to Plaintiffs’ claim occurred

there.

         11.   This Court has the authority to enter a declaratory judgment pursuant

to 28 U.S.C. §§ 2201 and 2202.

         12.   All conditions precedent to the maintenance of this case and

Plaintiffs’ claims have occurred, been performed, or otherwise been waived.




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                                     PARTIES

      13.    Plaintiff NANCY JACOBSON is a resident and registered voter of the

State of Florida. She has been a resident of, and registered voter in, Orlando since

1984. Ms. Jacobson has also been a registered Florida Democrat since 1984. She is

currently a member of the Orange County Democratic Party, previously served in

leadership roles for the Florida Democratic Party, and served as an elected DNC

Member from 2008 to 2016. Ms. Jacobson regularly votes in Florida elections and

has voted consistently for Democratic Party candidates since 1984. In each election

in which she has voted for Democratic Party candidates since 1999, the Republican

Party candidate was listed in the top spot on the ballot, due to the Ballot Order

Statute’s requirement that the candidate of the party of the Governor be listed first

in partisan races. Many of the Democratic Party candidates for whom Ms.

Jacobson voted, including Democratic presidential candidate Secretary of State

Hillary Rodham Clinton in 2016, gubernatorial candidate Charlie Crist in 2014,

and gubernatorial candidate Alex Sink in 2010, lost to the Republican Party

candidate by less than 2.70 percentage points, well within the margin of electoral

advantage that inures to Republican Party candidates in Florida elections purely as

a result of being listed first on the ballot pursuant to the Ballot Order Statute. Ms.

Jacobson intends to vote for Democratic Party candidates in the upcoming 2018

general election. If the Court does not enjoin the Ballot Order Statute prior to the


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upcoming November 2018 election, Republican Party candidates will once again

be listed in the first position on the ballot in all partisan races in which Ms.

Jacobson will be voting, and they will continue to receive an artificial and unfair

advantage purely as a result of their position on the ballot. As a result, Ms.

Jacobson will, once again, suffer serious, irreparable injury as a result of the Ballot

Order Statute, both due to the dilution of her vote and the burden on her efforts to

help elect Democratic Party candidates. Her meaningfully and thoughtfully cast

vote for Democratic Party candidates in the 2018 election will be diluted relative to

the votes for Republican Party candidates, as it has been in previous elections,

because its weight and impact will be decreased—and the weight and impact of

votes cast for Republican candidates will be increased—by the windfall votes

accruing to Republican Party candidates solely due to their first position on the

ballot. Ms. Jacobson has also been actively engaged in efforts to help elect

Democratic Party candidates in Florida—efforts which the Ballot Order Statute

makes significantly more difficult. Specifically, she has phone banked, canvassed,

engaged in get-out-the-vote (“GOTV”) activities, served as a poll watcher on

election day, and raised money for Democratic candidates, all with the goal of

helping Democratic Party candidates win elections in Florida. She plans to

continue these activities in regard to the upcoming 2018 general election. Ms.

Jacobson is currently volunteering and fundraising for the Democratic Party


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candidate running in Florida House District 47, Anna Eskamani. The Ballot Order

Statute, if it is not enjoined, will burden Ms. Jacobson’s ability to engage in

effective efforts to elect Democratic Party candidates by requiring substantially

more time and resources to achieve her mission.

      14.   Plaintiff TERENCE (“TERRY”) FLEMING is a resident and

registered voter of the State of Florida. Mr. Fleming moved to Florida from

California in 1997. He has been a resident of, and registered voter in, Alachua

County since 1998. Mr. Fleming has also been a registered Florida Democrat since

1998. Mr. Fleming has actively participated in local, statewide, and national

Democratic politics since 2002. In particular, he has been a member of the Alachua

County Democratic Executive Committee since 2002 and served as the state

committeeman for the Alachua County Democrats from 2008 until 2017 and from

2018 to the present. He has also been an active member of the Florida LGBTA

Democratic Caucus since 2002. Mr. Fleming served in a variety of positions in the

Florida LGBTA Democratic Caucus from 2002 until 2015—including regional

director, parliamentarian, and vice president—and since 2015, he has been

president of the Florida LGBTA Democratic Caucus. Mr. Fleming was also an

appointed member of the DNC Platform Committee for the national convention in

2008 and was a delegate to the national Democratic Convention for Hillary Clinton

in 2016. Beyond his activism, Mr. Fleming regularly votes in Florida elections and


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has voted consistently for Democratic Party candidates since 1998. In each election

in which he has voted for Democratic Party candidates since 1999, the Republican

Party candidate was listed in the top spot on the ballot due to the Ballot Order

Statute’s requirement that the candidate of the party of the Governor be listed first

in partisan races. Many of the Democratic Party candidates for whom Mr. Fleming

voted, including Democratic presidential candidate Secretary Clinton in 2016,

gubernatorial candidate Charlie Crist in 2014, gubernatorial candidate Alex Sink in

2010, and Senate candidate Betty Castor in 2004, lost to the Republican Party

candidate by less than 2.70 percent points, well within the margin of electoral

advantage that inures to Republican Party candidates in Florida elections purely as

a result of being listed first on the ballot pursuant to the Ballot Order Statute. Mr.

Fleming intends to vote for Democratic Party candidates in the upcoming 2018

general election. If the Court does not enjoin the Ballot Order Statute prior to the

upcoming November 2018 election, Republican Party candidates will once again

be listed in the first position on the ballot in all partisan races in which Mr.

Fleming will be voting and will continue to receive an artificial and unfair

advantage purely because of their position on the ballot. As a result, Mr. Fleming

will, once again, suffer serious, irreparable injury as a result of the Ballot Order

Statute, both due to the dilution of his vote and the burden on his efforts to help

elect Democratic Party candidates. Mr. Fleming’s meaningfully and thoughtfully


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cast vote for Democratic Party candidates in the 2018 general election will be

diluted relative to the votes for Republican Party candidates, as it has been in

previous elections, because its weight and impact will be decreased—and the

weight and impact of votes cast for Republican Party candidates will be

increased—by the windfall votes accruing to Republican Party candidates solely

due to their first position on the ballot. Mr. Fleming has also been actively engaged

in efforts to help elect Democratic Party candidates in Florida, efforts which the

Ballot Order Statute makes significantly more difficult. Specifically, Mr. Fleming

served as the treasurer for the Kenneth McGurn for U.S. Congress campaign in

2016, volunteered and donated to the Rod Smith for Florida Senate campaign in

2016, and worked on the Kendrick Meek for U.S. Senate campaign in 2010, all

with the goal of helping Democratic Party candidates win election in Florida. Mr.

Fleming plans to continue to financially support and volunteer to help Democratic

Party candidates seeking to win election in Florida in the upcoming 2018 general

election. The Ballot Order Statute, if it is not enjoined, will burden Mr. Fleming’s

ability to engage in effective efforts to elect Democratic Party candidates by

requiring substantially more time and resources to achieve his mission.

      15.    Plaintiff SUSAN BOTTCHER is a resident and registered voter of the

State of Florida. Ms. Bottcher has been a resident of, and registered voter in,

Alachua County since 1975. She has also been a registered Florida Democrat since


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1975. Ms. Bottcher has been an active participant in local, statewide, and national

Democratic politics since 2004, when she volunteered for the John Kerry for

President campaign in Alachua County. She served as the state committeewoman

for the Alachua County Democrats from 2008 until 2012 and as a delegate to the

DNC national convention for Barack Obama in 2008. Ms. Bottcher was also a

Gainesville City Commissioner from 2011 until 2014. Currently, Ms. Bottcher is

on the state board of Ruth’s List of Florida, which recruits, trains, and helps to

elect Democratic women to elected office in Florida. Beyond her activism and

elected position, Ms. Bottcher also regularly votes in Florida elections and has

voted consistently for Democratic Party candidates since 1975. In each election in

which she has voted for Democratic Party candidates since 1999, the Republican

Party candidate was listed in the top spot on the ballot due to the Ballot Order

Statute’s requirement that the candidate of the party of the Governor be listed first

in partisan races. Many of the Democratic Party candidates for whom Ms. Bottcher

voted, including Democratic presidential candidate Secretary Clinton in 2016,

gubernatorial candidate Charlie Crist in 2014, gubernatorial candidate Alex Sink in

2010, and Senate candidate Betty Castor in 2004, lost to the Republican Party

candidate by less than 2.70 percent points, well within the margin of electoral

advantage that inures to Republican Party candidates in Florida elections purely as

a result of being listed first on the ballot pursuant to the Ballot Order Statute. Ms.


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Bottcher intends to vote for Democratic Party candidates in the upcoming 2018

general election. If the Court does not enjoin the Ballot Order Statute prior to the

upcoming November 2018 election, Republican Party candidates will once again

be listed in the first position on the ballot in all partisan races in which Ms.

Bottcher will be voting and will continue to receive an artificial and unfair

advantage purely because of their position on the ballot. As a result, Ms. Bottcher

will, once again, suffer serious, irreparable injury as a result of the Ballot Order

Statute, both due to the dilution of her vote and the burden on her efforts to help

elect Democratic Party candidates. Ms. Bottcher’s meaningfully and thoughtfully

cast vote for Democratic Party candidates in the 2018 general election will be

diluted relative to the votes for Republican Party candidates, as it has been in

previous elections, because its weight and impact will be decreased—and the

weight and impact of votes cast for Republican Party candidates will be

increased—by the windfall votes accruing to Republican Party candidates solely

due to their first position on the ballot. Ms. Bottcher has also been actively

engaged in efforts to help elect Democratic Party candidates in Florida, efforts

which the Ballot Order Statute makes significantly more difficult. Specifically, Ms.

Bottcher has volunteered in GOTV efforts for candidates for the state senate and

house and is currently volunteering for the campaign of Kayser Enneking in

Florida State Senate District 8, all with the goal of helping Democratic Party


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candidates win election in Florida. In addition to her volunteer work for the Kayser

Enneking campaign, Ms. Bottcher plans to continue to financially support and

volunteer for Democratic Party candidates seeking to win election in Florida in the

upcoming 2018 general election. The Ballot Order Statute, if it is not enjoined, will

burden Ms. Bottcher’s ability to engage in effective efforts to elect Democratic

Party candidates by requiring substantially more time and resources to achieve her

mission.

      16.    Plaintiff PRIORITIES USA (“Priorities”) is a 501(c)(4) nonprofit,

voter-centric progressive advocacy and service organization. Priorities’ mission is

to build a permanent infrastructure to engage Americans in the progressive

movement by running a permanent digital campaign to persuade and mobilize

citizens around issues and elections that affect their lives. In furtherance of this

purpose, Priorities works to help elect Democratic Party candidates across the

country, including in Florida. In 2016, Priorities made contributions and

expenditures in the tens of millions of dollars to persuade and mobilize voters to

support Democratic candidates—several million dollars of which were spent for

those purposes in Florida. In 2018, Priorities again expects to make contributions

and expenditures in the millions of dollars to persuade and mobilize voters to

support Democratic candidates in state and federal elections around the country,

including in Florida elections. The Ballot Order Statute directly harms Priorities


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by frustrating its mission of, and efforts in, electing Democratic Party candidates in

Florida by giving an unfair and artificial electoral advantage to Republican Party

candidates. Priorities is aware of Florida’s Ballot Order Statute and will have to

expend and divert additional funds and resources in GOTV, voter persuasion

efforts, and other activities in Florida, at the expense of its efforts in other states, in

order to combat the effects of the Ballot Order Statute in getting Democratic

candidates elected in Florida, including in regard to the 2018 general election.

       17.    Plaintiff DNC SERVICES CORPORATION / DEMOCRATIC

NATIONAL COMMITTEE is the national committee of the Democratic Party, as

defined by 52 U.S.C. § 30101(14), and its mission is to elect local, state, and

national candidates of the Democratic Party to public office throughout the United

States, including in Florida. The DNC works to accomplish its mission across the

country and in Florida by, among other things, making expenditures for, and

contributions to, Democratic candidates (at all levels) and assisting state parties

throughout the country, including in Florida. The Ballot Order Statute directly

harms the DNC by frustrating its mission of, and efforts in, electing Democratic

Party candidates in Florida by giving an unfair and artificial electoral advantage to

Republican Party candidates. The DNC is aware of Florida’s Ballot Order Statute

and will have to expend and divert additional funds and resources on GOTV, voter

persuasion efforts, and other activities in Florida, at the expense of its efforts in


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other states, in order to combat the effects of the Ballot Order Statute in getting

Democratic candidates elected in Florida, including in regard to the 2018 general

election. The DNC has members and constituents across the United States,

including in Florida, where the DNC’s members and constituents include

Democratic Party candidates, elected officials, and voters in Florida. The Ballot

Order Statute further harms the DNC because it treats the DNC’s candidate

members, as well as their supporters, in Florida differently from Republican Party

candidates in partisan elections in the State by listing Republican candidates first

on the ballot simply because a Republican candidate won the last gubernatorial

election. As a result of being listed first on the ballot, Republican candidates have

gained—in every single partisan election in Florida held in the last two decades—

and will continue to gain an unfair and artificial electoral advantage over the

DNC’s candidate members, if the Ballot Order Statute is not enjoined, causing

them substantial and irreparable injury. The DNC’s voter members and its

constituency of Democratic voters will also suffer serious, irreparable injury as a

result of the Ballot Order Statute, as they previously have in Florida elections,

because their votes for Democratic Party candidates will be diluted in the 2018

election, in the absence of an injunction. In particular, without an injunction, the

meaningfully and thoughtfully cast votes for Democratic Party candidates of the

DNC’s voter members and its Democratic voter constituents will be diluted in the


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2018 election relative to the votes for Republican Party candidates, as they have

been in previous elections, because their weight and impact will be decreased—

and the weight and impact of votes cast for Republican Party candidates will be

increased—by the windfall votes accruing to Republican Party candidates solely

due to their first position on the ballot.

       18.    Plaintiff DSCC is the national senatorial committee of the Democratic

Party, as defined by 52 U.S.C. § 30101(14), and its mission is to elect candidates

of the Democratic Party to the United States Senate, including in Florida. The

DSCC works to accomplish its mission across the country and in Florida by,

among other things, making expenditures for, and contributions to, Democratic

candidates for U.S. Senate and assisting state parties throughout the country,

including in Florida. In 2016, the DSCC made contributions and expenditures in

the tens of millions of dollars to persuade and mobilize voters to support

Democratic Senate candidates, including several million dollars which were spent

in Florida. In 2018, Democratic Senator Bill Nelson is seeking re-election to the

U.S. Senate and his challenger is current Republican Governor Rick Scott. As a

result, in 2018 the DSCC again expects to make substantial contributions and

expenditures to support the Democratic candidate for U.S. Senate in Florida. The

Ballot Order Statute directly harms the DSCC by frustrating its mission of, and

efforts in, electing the Democratic Party candidate to the U.S. Senate in Florida by


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giving an unfair and artificial electoral advantage to the Republican Party

candidate. The DSCC is aware of Florida’s Ballot Order Statute and will have to

expend and divert additional funds and resources on GOTV, voter persuasion

efforts, and other activities in Florida, at the expense of its efforts in other states, in

order to combat the effects of the Ballot Order Statute in the 2018 general election

for U.S. Senate in Florida.

      19.    Plaintiff DCCC is the national congressional committee of the

Democratic Party, as defined by 52 U.S.C. § 30101(14). The DCCC’s mission is

electing Democratic candidates to the U.S. House of Representatives from

congressional districts across the United States, including from Florida’s 27

congressional districts. The DCCC works to accomplish its mission across the

country and in Florida by, among other things, making expenditures for, and

contributions to, Democratic candidates for U.S. Congress and assisting state

parties throughout the country, including in Florida. In 2016, the DCCC made

contributions and expenditures in the tens of millions of dollars to persuade and

mobilize voters to support Democratic congressional candidates—several million

dollars of which were spent for those purposes in Florida. For 2018, the DCCC has

identified at least three congressional districts in Florida (FL-06, FL-18, and FL-

26) as targeted races, in which it will expend resources to support the Democratic

candidate. Overall, in 2018, the DCCC expects to make contributions and


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expenditures in the tens of millions of dollars to persuade and mobilize voters to

support Democratic candidates in congressional elections around the country,

including in Florida. The Ballot Order Statute directly harms the DCCC by

frustrating its mission of, and efforts in, electing Democratic Party candidates to

the U.S. Congress in Florida by giving an unfair and artificial electoral advantage

to the Republican Party candidate. The DCCC is aware of Florida’s Ballot Order

Statute and will have to expend and divert additional funds and resources on

GOTV, voter persuasion efforts, and other activities in Florida, at the expense of

its efforts in other states, in order to combat the effects of the Ballot Order Statute

in getting Democratic candidates elected in Florida in the 2018 general election.

      20.    Plaintiff the DEMOCRATIC GOVERNORS ASSOCIATION is an

independent voluntary political organization dedicated to supporting Democratic

governors and electing Democratic gubernatorial candidates across the United

States, including in Florida. The DGA works to accomplish its mission across the

country and in Florida by, among other things, making contributions to help elect

Democratic candidates for governor, including in Florida. In prior election cycles,

the DGA made contributions and expenditures in the millions of dollars to help

elect Democratic candidates. In 2018, the DGA again expects to make

contributions and expenditures in the tens of millions of dollars to persuade and

mobilize voters to support Democratic candidates in Gubernatorial elections


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around the country, including in Florida, which will be holding a Governor’s

election. The Ballot Order Statute directly harms the DGA by frustrating its

mission of, and efforts in, electing a Democratic Party candidate to Governor in

Florida by giving an unfair and artificial electoral advantage to the Republican

Party candidate. The Ballot Order Statute almost certainly frustrated the DGA’s

efforts in the 2010 and 2014 elections for Florida Governor, in which the

Democratic Party candidate lost to Republican candidate, Rick Scott, by 1.2% and

1% of the vote, respectively, which is less than the average percentage point

advantage given to the Republican Party candidates attributable to position bias

stemming from the Ballot Order Statute. The DGA is aware of Florida’s Ballot

Order Statute and will have to expend and divert additional funds and resources on

voter persuasion efforts and other activities in Florida, at the expense of its efforts

in other states, in order to combat the effects of the Ballot Order Statute in getting a

Democratic candidate elected in Florida in the 2018 general election.

      21.    Plaintiff   the    DEMOCRATIC           LEGISLATIVE         CAMPAIGN

COMMITTEE is a political organization dedicated to the election of Democratic

Party state legislative candidates in legislative bodies throughout the United States,

including in Florida. The DLCC furthers this mission across the country and in

Florida by providing training, data, resources, and other support to help to elect

Democrats running for state legislative office. The DLCC plans on providing


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contributions and expenditures to help to elect Democratic state legislative

candidates in the 2018 Florida election. The Ballot Order Statute directly harms the

DLCC by frustrating its mission of, and efforts in, electing Democratic Party state

legislative candidates in Florida by giving an unfair and artificial electoral

advantage to Republican Party legislative candidates. The DLCC is aware of

Florida’s Ballot Order Statute and will have to expend additional funds and other

resources in its activities to combat the effects of the Ballot Order Statute in getting

Democratic legislative candidates elected.

      22.    Defendant, KENNETH DETZNER, is the Secretary of State of

Florida and is named as a Defendant in his official capacity. He is Florida’s chief

elections officer and, as such, is responsible for the administration and

implementation of election laws in Florida, including the Ballot Order Statute. See

FLA. STAT. § 97.012(1) (describing Secretary of State as “the chief election officer

of the state” who has responsibility to “[o]btain and maintain uniformity in the

interpretation and implementation of the election laws”). The Secretary, personally

and through the conduct of his employees, officers, agents, and servants, acted

under color of state law at all times relevant to this action.




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                      STATEMENT OF FACTS AND LAW

   A. Position Bias

      23.    The candidate whose name is listed first on a ballot receives the

advantage of additional votes solely due to his or her position on the ballot over all

of the other candidates listed. See Holtzman, 62 Misc. 2d at 1023 (recognizing

“there is a distinct advantage to the candidate whose name appears first on a

ballot” and this phenomenon is “so widespread and so universally accepted as to

make it almost a matter of public knowledge”); Nuri Kim et al., Moderators of

Candidate Name-Order Effects in Elections: An Experiment, 36 POLITICAL

PSYCHOLOGY 525, 526 (2015) (“The body of research on name-order effects

indicates that candidates often received more votes when their names were listed

first than when their names were listed after the names of one or more candidates

with whom they competed.”); Josh Pasek et al., Prevalence and Moderators of the

Candidate Name-Order Effect, 78 PUBLIC OPINION QUARTERLY 416, 417 (2014)

(“Most studies reported evidence of primacy effects, whereby candidates received

more votes when listed first than when listed later.”).

      24.    Position bias in favor of the first listed candidate on a ballot occurs

because individuals have an implicit bias to pick the first choice in a set list “on the

basis of heuristic cues.” Eric Chen et al., The Impact of Candidate Name Order on

Election Outcomes in North Dakota, 35 ELECTORAL STUDIES 115, 116 (2014)


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(describing that “evidence from psychology indicates that people often select the

first option among a set of alternatives”) (internal citations omitted); Joanne M.

Miller and John Krosnick, The Impact of Candidate Name Order on Election

Outcomes, 62 PUBLIC OPINION QUARTERLY 291 (1998) (“[D]ozens of experiments

. . . nearly always found bias toward selecting initially offered options.”) (internal

citations omitted); Pasek, supra at 418 (recognizing that voters choose the first

listed candidate by rely[ing] on the “up is good” or “first is best” heuristic)

(internal citations omitted).

       25.    Position bias in the context of elections occurs most often when voters

(1) lack information about candidates, or (2) are ambivalent towards the

candidates, despite having information about them. In each of these scenarios, the

order of candidates’ names on the ballot can be enough to nudge the voter to select

the first listed candidate. Studies have consistently shown this is true for enough

voters in any given election to be statistically significant.

   B. Effects of Position Bias

       26.    In Florida, the first-listed candidates in partisan elections receive the

following average percentage point “bump” due to position bias: (1) Republican

candidates gain a 2.70 percentage point advantage by being listed first on the

ballot; and (2) Democratic candidates receive a 1.96 percentage point advantage by

being listed first.


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      27.       The advantage gained by the first-listed candidate is only part of the

story: the full impact of position bias in any given race also naturally includes the

disadvantage following to later-listed candidates. Calculating the second part of

that equation can be difficult in elections involving more than two candidates, but

at least in two-candidate elections, the total effect is roughly double the advantage

to the first-listed candidate. Thus, the overall percentage point gap due to position

bias in Florida’s two-party, two-candidate elections is calculated to be as high as

5.40 percentage points when Republican Party candidates are listed first, and 3.92

percentage points when Democratic Party candidates are listed first.

      28.       Position bias is commonly seen with major party candidates, who are

“particularly prone to the influence of name order, perhaps because more voters

were ambivalent about these candidates due to the extensive publicity that they

received.” Pasek, supra at 433.

      29.       The impact of position bias is also markedly stronger in high turnout

elections. Miller, supra at 316; see also Pasek, supra at 433 (“Name order had

more impact on the outcomes of candidates running for less-visible offices during

high-turnout years, presumably because voters were less informed about such

candidates and average voter information was presumably lower in such

elections.”).




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    C. The Ballot Order Statute

      30.    Florida’s Ballot Order Statute mandates that candidates of the political

party that won the previous election for Governor be listed first on the ballot,

before any other recognized major political parties’ candidates. Specifically, the

Statute provides: “[t]he names of the candidates of the party that received the

highest number of votes for Governor in the last election in which a Governor was

elected shall be placed first for each office on the general election ballot, together

with an appropriate abbreviation of the party name; the names of the candidates of

the party that received the second highest vote for Governor shall be placed second

for each office, together with an appropriate abbreviation of the party name.” FLA.

STAT. § 101.151(3)(a) (2017). 2

      31.    Thus, the Ballot Order Statute, on its face, treats the two major

political parties vastly differently: the candidates of the party that won the last

Florida Governor’s election are listed first on the ballot in every partisan election

that follows (until such time as another party’s candidate wins the Governor’s


2
  A separate provision of Section 101.151, Florida Statutes, which is not at issue in
this litigation, provides that recognized major political party candidates are
followed on the general election ballot by candidates of minor political parties,
who are then followed by candidates who do not affiliate with a political party,
organized in the order in which they qualified. FLA. STAT. § 101.151(3)(b) (“Minor
political party candidates shall have their names appear on the general election
ballot following the names of recognized political parties, in the same order as they
were qualified, followed by the names of candidates with no party affiliation, in the
order as they were qualified.”).

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election), while the candidates whose party did not win the last Governor’s election

are never listed first on the ballot. Candidates in the former category thus enjoy an

artificial and unfair electoral advantage based solely on the performance of their

party in a different election, which in some cases occurred years earlier.

    D. Effects of The Ballot Order Statute on Elections in Florida

       32.   As a direct result of the Ballot Order Statute, position bias effects

have had and, unless enjoined, will continue to have, a significant impact on

elections in Florida, in favor of the candidate listed first on the ballot, their

affiliated political party, and the voters who support them.

       33.   Under the Ballot Order Statute, the Republican Party, its candidates,

and voters have enjoyed an arbitrary and unfair advantage in all partisan elections

in Florida, due solely to position bias, for two decades, simply because the three

candidates to hold the Governor’s office since then have all run and been elected as

Republicans.3

       34.   Some of these Republican Governors were elected in very close

elections. For example, in the 2010 and 2014 gubernatorial elections, Republican


3
 In the past 20 years, John Ellis (“Jeb”) Bush (1999-2007), Charlie Crist (2007-
2011), and Richard (“Rick”) Scott (2011-present) have been elected and served as
Governors of Florida. Although Governor Crist identified as an independent from
April 2010 to January 2011, he was elected as Governor as a Republican candidate.
See FLA. STAT. § 101.151(3)(a) (awarding ballot primacy to the candidates whose
parties “received the highest number of votes for Governor in the last election”).


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Rick Scott defeated the Democratic candidate by only 1.2% and 1% of the vote,

respectively, which is less than the average percentage point advantage that

Republican candidates enjoy solely as the result of position bias stemming from

the Ballot Order Statute.

      35.    In such cases, the systematic unfair and artificial electoral advantage

given to every single Republican candidate in the partisan elections that followed

has stemmed from a very small percentage of the vote in a single, unrelated

election.

      36.    Indeed, given that the very narrow margin of victory enjoyed by

Governor Scott in 2010 and 2014 is within the range that may be solely attributable

to position bias alone, it is reasonable to conclude that, in at least some cases,

Republican success in the gubernatorial races may be a self-fulfilling prophecy,

made possible by the Ballot Order Statute, which then serves to confer significant

advantages to every Republican candidate to run in any ensuing partisan election in

Florida, until a Republican is defeated in the race for Governor.

      37.    Unless the Ballot Order Statute is enjoined, the Republican Party, its

candidates, and the voters who support them, will continue to enjoy the arbitrary

and unfair advantage that the Statute confers on them in the 2018 election, for no

other reason than that the current Governor of Florida, Rick Scott, is a Republican.




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      38.   The arbitrary and unfair advantage conferred by the Ballot Order

Statute on Republicans over the past twenty years provides reason enough to

invalidate the law, but even more troublingly, multiple elections in Florida in

recent years (including and beyond the elections of Governor Scott discussed

above) have been decided by vote counts within the range of the position bias,

raising the strong likelihood that in some of these elections, the Ballot Order

Statute has been outcome determinative.

      39.   For example, in 2000, the Republican Party candidate for U.S. House

of Representatives in Congressional District 8 defeated the Democratic Party

candidate by 1.6% of the vote, less than the average percentage point advantage

conferred to Republican Party candidates pursuant to position bias.

      40.   Similarly, in 2006, the Republican Party candidate for U.S. House of

Representatives in Congressional District 13 defeated the Democratic Party

candidate by only 0.2% of the vote.

      41.   Also in 2006, the Republican candidate for Florida House of

Representatives District 44 defeated the Democratic Party candidate by 1.8% of

the vote.

      42.   Most recently, in 2016, the Republican Party candidate in the Florida

House of Representatives District 36 election defeated the Democratic Party

candidate by 1.02% of the vote, which was equivalent to 691 votes.


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      43.    Also in 2016, the Republican candidate for Florida House of

Representatives District 63 defeated the Democratic Party candidate by 1.8% of

the vote.

   E. Election Administration Concerns Cannot Justify the Florida Ballot
      Order Statute
      44.    Neither political favoritism of one party (here, the political party of

the Governor) and its voters, nor purported election administration concerns, can

sustain the Ballot Order Statute against legal challenge. See Dunn v. Blumstein,

405 U.S. 330, 350 (1972) (“States may not casually deprive a class of individuals

of the vote because of some remote administrative benefit to the State.”); see also

Graves v. McElderry, 946 F. Supp. 1569 (W.D. Okla. 1996) (finding no legitimate

state interest in always placing one major political party first on the ballot).

      45.    There are, in fact, multiple alternative ways to order major political

party candidates on a ballot—ways that eliminate or reduce the systematic unfair

advantages of position bias in elections. Other states have already adopted these

alternative ballot order systems, evidencing that they are not too burdensome and

are practical alternatives.

      46.    Some states, such as Ohio, have adopted ballot order procedures that

consistently rotate the order of names on a ballot, which significantly reduces or

eliminates position bias effects. See OHIO REV. CODE ANN. § 3505.03 (“The names

of all candidates for an office shall be arranged in a group under the title of that

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office, and, except for absentee ballots or when the number of candidates for a

particular office is the same as the number of candidates to be elected for that

office, shall be rotated from one precinct to another.”); see also Ohio Const. art. V,

§ 2a (“The general assembly shall provide by law the means by which ballots shall

give each candidate’s name reasonably equal position by rotation or other

comparable methods to the extent practical and appropriate to the voting procedure

used.”); O.R.C. Ann. § 3505.03 (“The names of all candidates . . . shall be rotated

from one precinct to another.”).

      47.    Courts have consistently recognized that this system of rotation is the

fairest. See, e.g., McLain, 637 F.2d at 1169 (“[T]he fairest remedy for a

constitutionally defective placement of candidates would appear to be some form

of ballot rotation whereby ‘first position’ votes are shared equitably by all

candidates,” and “[o]ur preliminary research suggests that the most effective

rotation system is one which rotates names from one ballot to the next.”); Gould,

14 Cal. 3d at 676 (stating “a number of state courts have specifically ordered

election officials to implement a ballot rotation method, thereby largely eliminating

the potential distorting effect of positional preference”).

      48.    A number of other states, including New Jersey, Illinois, and

California, have adopted random selection ballot order systems, which reduce

position bias effects and eliminate long-term political party entrenchment in being


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listed first. See, e.g., N.J. STAT. § 19:14-12 (“The county clerk shall draw lots in

his county to determine which columns the political parties which made

nominations at the next preceding primary election shall occupy on the ballot in the

county,” and “[t]he name of the party first drawn shall occupy the first column at

the left of the ballot, and the name of the party next drawn shall occupy the second

column, and so forth.”); 10 ILCS 5/7-60 (“Each county clerk and board of election

commissioners shall determine by a fair and impartial method of random selection

the order of placement of established political party candidates for the general

election ballot.”); CAL. ELEC. CODE § 13112 (“The resulting random order of

letters constitutes the randomized alphabet, which is to be used in the same manner

as the conventional alphabet in determining the order of all candidates in all

elections.”); see also Gould, 14 Cal. 3d at 676 (describing lottery system as “not

continually work[ing] a disadvantage upon a fixed class of candidates,” as under

such a system, “all candidates are at least afforded an equal opportunity to obtain

the preferential ballot position”).

      49.    Adopting a rotational or random selection method of ballot order

would not impose significant administrative costs on the State and would ensure

fairer elections in Florida.




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                             CLAIMS FOR RELIEF

                                     COUNT I

                 First Amendment and Equal Protection
U.S. Const. Amend. I and XIV, 42 U.S.C. § 1983, 28 U.S.C. § 2201, 28 U.S.C. §
                                   2202
                    Undue Burden on the Right to Vote

      50.    The Voter Plaintiffs reallege and incorporate by reference paragraphs

1 through 49, as though fully set forth herein.

      51.    Under the First Amendment and the Equal Protection Clause of the

Fourteenth Amendment, a court considering a challenge to a state election law

must carefully balance the character and magnitude of injury to the First and

Fourteenth Amendment rights that the plaintiff seeks to vindicate against the

justifications put forward by the State for the burdens imposed by the rule. See

Burdick v. Takushi, 504 U.S. 428, 434 (1992); Anderson v. Celebrezze, 460 U.S.

780, 789 (1983). “However slight th[e] burden may appear, . . . it must be justified

by relevant and legitimate state interests sufficiently weighty to justify the

limitation.” Crawford v. Marion Cty. Election Bd., 553 U.S. 181, 191 (2008)

(Stevens, J., controlling op.) (quotation marks omitted); see also Gould, 14 Cal. 3d

at 670 (applying “close scrutiny” standard of review, because ballot order system

“impose[d] a very ‘real and appreciable impact’ on the equality, fairness and

integrity of the electoral system”); Akins, 154 N.H. at 67 (applying strict scrutiny



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to determining state constitutionality of ballot order system that prioritized

candidate names alphabetically).

      52.    Florida’s Ballot Order Statute, which provides an unfair and artificial

advantage to candidates whose political party won the last gubernatorial election,

burdens the right to vote of those voters, including the Voter Plaintiffs, the DNC

voter members, and the constituencies of the Democratic Party committee and

organizational Plaintiffs, who support the non-favored major political party’s

candidates who are not listed first on the ballot, because it dilutes their vote relative

to the votes for the favored political party candidate listed first on the ballot. See

McLain, 637 F.2d at 1163 (describing system of listing first candidates of party

that received the most votes in last North Dakota congressional election as

“burden[ing] the fundamental right to vote possessed by supporters of the last-

listed candidates, in violation of the fourteenth amendment”); see also Gould, 14

Cal. 3d at 670 (describing statute that prioritized ballot order by incumbency as

“inevitably dilut[ing] the weight of the vote of all those electors who cast their

ballots for a candidate who is not included within the favored class”). The weight

and impact of their votes is consistently decreased—and the weight and impact of

the votes for the favored party’s candidates, increased—by the windfall votes

accruing to the first-listed candidates, solely due to their first position on the ballot

as a result of the operation of the Ballot Order Statute.


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      53.    The Ballot Order Statute is not justified by any legitimate state

interest, let alone a compelling state interest narrowly drawn, that is sufficiently

weighty to justify the burden on the right to vote. See McLain, 637 F.2d at 1167

(holding state’s asserted interest in “making the ballot as convenient and

intelligible as possible for the great majority of voters” was not a legitimate state

interest to justify listing first on the ballot candidates of the political party that

received the most votes in the last congressional election and constituted

“favoritism”); Gould, 14 Cal. 3d at 675 (rejecting the argument that the asserted

state interests in promoting “efficient, unconfused voting” justified an incumbent-

first ballot order system and holding that an interest “in promoting speed in the

voting booth” was not a “compelling” state interest); Holtzman, 62 Misc. 2d at

1024 (holding there was no rational basis for “such favoritism to a candidate

merely on the basis of his having been successful at a prior election” in terms of

ballot order).

      54.    Thus, the burdens imposed by the Statute on the fundamental right to

vote outweigh any alleged benefits of the law.

      55.    Injunctive and declaratory relief are needed to resolve this existing

dispute, which presents an actual controversy between the Secretary of State and

Plaintiffs, who have adverse legal interests, because the Ballot Order Statute

subjects Plaintiffs to serious, concrete, and irreparable injuries to their fundamental


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right to vote, including, most immediately, in the upcoming general elections to be

held on November 6, 2018.

      WHEREFORE, Plaintiffs respectfully request that this Court enter

judgment:

             (a)    declaring, under the authority granted to this Court by 28
                    U.S.C. § 2201, that the Ballot Order Statute violates the First
                    and Fourteenth Amendments to the United States Constitution;

             (b)    preliminarily and permanently enjoining the Secretary of State,
                    his respective agents, officers, employees, and successors, and
                    all persons acting in concert with each or any of them, from
                    implementing, enforcing, or giving any effect to the Ballot
                    Order Statute under the authority granted to this Court by
                    Federal Rule of Civil Procedure 65(a) and 28 U.S.C. § 2202;

             (c)    awarding Plaintiffs their costs, disbursements, and reasonable
                    attorneys’ fees incurred in bringing this action pursuant to 42
                    U.S.C. § 1988 and other applicable laws; and

             (d)    granting such other and further relief as the Court deems just
                    and proper, including the implementation of a
                    nondiscriminatory means of determining the order of
                    candidates’ names on the ballot.

                                        COUNT II

                             Equal Protection
U.S. Const. Amend. XIV, 42 U.S.C. § 1983, 28 U.S.C. § 2201, 28 U.S.C. § 2202,
                           Disparate Treatment

      56.    Plaintiffs reallege and incorporate by reference paragraphs 1 through

49, as though fully set forth herein.




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      57.    The Equal Protection Clause of the Fourteenth Amendment to the

United States Constitution prohibits states from “deny[ing] to any person within its

jurisdiction the equal protection of the laws.” U.S. CONST. amend. XIV, § 1. This

constitutional provision requires “that all persons similarly situated should be

treated alike.” City of Cleburne v. Cleburn Living Center, 473 U.S. 432, 439

(1985); see also Bush v. Gore, 531 U.S. 98, 104-05 (2000) (holding Equal

Protection Clause applies to “the manner of [the] exercise [of voting]” and “once

granted the right to vote on equal terms, the State may not, by later arbitrary and

disparate treatment, value one person’s vote over that of another”).

      58.    Florida’s Ballot Order Statute treats one major political party—and its

candidates and the voters and organizations who support it—including the Voter

Plaintiffs, Priorities, as well as the DNC, the DSCC, the DCCC, the DGA, the

DLCC, and their members and constituents, differently from other similarly

situated major parties and their candidates and supporters, giving one a consistent,

unfair and arbitrary electoral advantage, based solely on the performance of that

party’s candidate in the last gubernatorial election, in violation of the Equal

Protection Clause of the Fourteenth Amendment. See McLain, 637 F.2d at 1166

(holding statute requiring political party of the candidate who received the most

votes in prior North Dakota congressional election to be listed first on ballots

unconstitutional, in violation of the Fourteenth Amendment’s Equal Protection


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Clause); see also Mann, 333 F. Supp. at 1267 (enjoining ballot order system of

placing candidates at top of ballot based on prior electoral success—due to

“seniority” or “incumbency”—and stating that “[t]he Fourteenth Amendment

requires all candidates, newcomers and incumbents alike, to be treated equally”),

aff’d by 398 U.S. 955 (1970); Netsch v. Lewis, 344 F. Supp. 1280, 1281 (N.D. Ill.

1972) (holding statute prescribing ballot order by past electoral success violated

Fourteenth Amendment because it denied “the right to equal protection”);

Holtzman v. Power, 62 Misc. 2d at 1024 (holding system requiring placement of

incumbent at top of ballot unconstitutional because it violated the Equal Protection

Clause); see also Sangmeister v. Woodard, 565 F.2d 460, 468 (7th Cir. 1977)

(“This court will not accept a procedure that invariably awards the first position on

the ballot to . . . the incumbent’s party.”) (citation omitted).

      59.    Florida’s Ballot Order Statute does not further any legitimate state

interest, much less a compelling state interest narrowly tailored, that is sufficiently

weighty to justify favoring the political party of the current Governor (and the

serious and irreparable injury that results to the Plaintiffs because of that

favoritism), by ensuring that all candidates running in future elections under the

auspices of the same party are listed first on the ballot and thus receive an unfair

electoral advantage solely resulting from their position of primacy. See, e.g.,

McLain, 637 F.2d at 1167 (holding that state’s asserted interest in “making the


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ballot as convenient and intelligible as possible for the great majority of voters” did

not justify a ballot order statute listing first on the ballot the candidates of the

political party that won the last congressional race); Holtzman, 62 Misc. 2d at 1024

(holding there was no rational basis for “such favoritism to a candidate merely on

the basis of his having been successful at a prior election” in terms of ballot order).

      60.    Injunctive and declaratory relief is needed to resolve this existing

dispute, which presents an actual controversy between the Secretary of State and

Plaintiffs, who have adverse legal interests, because the Ballot Order Statute

subjects Plaintiffs to serious, concrete, and irreparable injuries due to disparate

treatment in violation of the Equal Protection Clause, including, most immediately,

in the upcoming general elections to be held on November 6, 2018.

      WHEREFORE, Plaintiffs respectfully request that this Court enter

judgment:

             (a)    declaring, under the authority granted to this Court by 28
                    U.S.C. § 2201, that the Ballot Order Statute violates the
                    Fourteenth Amendment to the United States Constitution;

             (b)    preliminarily and permanently enjoining the Secretary, his
                    respective agents, officers, employees, and successors, and all
                    persons acting in concert with each or any of them, from
                    implementing, enforcing, or giving any effect to the Ballot
                    Order Statute under the authority granted to this Court by
                    Federal Rule of Civil Procedure 65(a) and 28 U.S.C. § 2202;

             (c)    awarding Plaintiffs their costs, disbursements, and reasonable
                    attorneys’ fees incurred in bringing this action pursuant to 42
                    U.S.C. § 1988 and other applicable laws; and

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            (d)   granting such other and further relief as the Court deems just
                  and proper, including the implementation of a
                  nondiscriminatory means of determining the order of
                  candidates’ names on the ballot.

Dated this 24th day of May, 2018.

                                       Respectfully submitted,

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